
PER CURIAM.
This cause is before us on appeal from an order requiring appellant, the City of Miami, to reimburse appellee, the claimant below, for offsets taken against his monthly pension benefits from July 1, 1973 through June 2, 1988. The parties stipulated that appellee was injured on August 10, 1970. Because appellee’s injury took place prior to the July 1, 1973 repeal of Section 440.09(4), Florida Statutes, this case is controlled by City of Miami v. Jones, 593 So.2d 544 (Fla. 1st DCA 1992). As we did in Jones, we reverse the offset reimbursement award and remand for further proceedings.
REVERSED AND REMANDED.
ERVIN, BOOTH and ZEHMER, JJ., concur.
